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                                   5                                 UNITED STATES DISTRICT COURT

                                   6                              NORTHERN DISTRICT OF CALIFORNIA

                                   7                                          SAN JOSE DIVISION

                                   8
                                        IN RE: APPLE INC. DEVICE
                                   9    PERFORMANCE LITIGATION                               Case No. 5:18-md-02827-EJD

                                  10                                                         ORDER RE MOTION FOR SANCTIONS
                                  11                                                         Re: Dkt. No. 313

                                  12
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                                  13

                                  14          The Court expressed its disappointment with the parties, and with Mr. Cotchett and Mr.

                                  15   Molumphy in particular, at the hearing held on May 30, 2019. This order follows.

                                  16          Apple moves the Court to disqualify Mr. Cotchett and Mr. Molumphy as Co-Lead Counsel

                                  17   for Plaintiffs and to prohibit them from accessing material produced and designated by Apple as

                                  18   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the

                                  19   stipulated protective order (“Protected Material”). See Dkt. No. 224 (the “Protective Order”). At

                                  20   oral argument, Apple requested that, in the alternative, the Court at least fashion a strong sanction

                                  21   to “send[] a message.” See May 30, 2019 Hr’g. Tr. at 18:1-5. The allegations underlying

                                  22   Plaintiffs’ claims, which are not pertinent to this motion, are recounted in the Court’s previous

                                  23   orders on Apple’s motions to dismiss. See Dkt. Nos. 219, 315.

                                  24          A court may disqualify counsel when that court finds “(1) a clear violation of the

                                  25   professional rules of conduct, (2) which affects the public view of the judicial system or the

                                  26   integrity of the court, and (3) which is serious enough to outweigh the parties’ interests in counsel

                                  27   of their choice.” Hernandez v. Best Buy Stores, L.P., 2015 WL 7176352, at *3 (S.D. Cal. Nov. 13,

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                                   1   2015) (citations omitted). Sanctions under Federal Rule of Civil Procedure 37 are appropriate

                                   2   “where a party has violated a discovery order, including a protective order.” Life Techs. Corp. v.

                                   3   Biosearch Techs., Inc., 2012 WL 1600393, at *8 (N.D. Cal. May 7, 2012). “A court need not find

                                   4   bad faith before imposing sanctions for violations of Rule 37.” Oracle USA, Inc. v. SAP AG, 264

                                   5   F.R.D. 541, 545 (N.D. Cal. 2009). “On motion or on its own, the court may issue any just orders,

                                   6   including those authorized by Rule 37, if a party or its attorney: . . . fails to obey a . . . pretrial

                                   7   order.” Fed. R. Civ. P. 16(f)(1). A court may also “may issue sanctions under its inherent power,

                                   8   but only upon a showing of bad faith.” Life Techs., 2012 WL 1600393, at *9.

                                   9           The relevant facts are these: On August 6, 2018, Apple made a document production to

                                  10   Plaintiffs that included Protected Material. In this production were three documents with the

                                  11   production numbers APLIOSMDL00152101, APLIOSMDL01274352-APLIOSMDL01274356,

                                  12   and APLIOSMDL05752553-APLIOSMDL05752556 (the “Confidential Documents”). Apple
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                                  13   designated the Confidential Documents as HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

                                  14   ONLY. On February 14, 2019, Plaintiffs filed a declaration by Mr. Cotchett in support of their

                                  15   Opposition to Apple’s Motion to Dismiss the Second Amended Complaint. Dkt. No. 280-1.

                                  16   Plaintiffs attached the Confidential Documents as exhibits. Dkt. Nos. 280-1, 280-2, 280-3, 280-4.

                                  17   They filed a Motion to Seal the Confidential Documents. Dkt. No. 279. The Court had not ruled

                                  18   on the Motion to Seal when the parties appeared for the March 7, 2019 hearing on Apple’s Motion

                                  19   to Dismiss the Second Amended Complaint.

                                  20           During that hearing, Mr. Molumphy referenced facts that, Apple contends, were only

                                  21   available to Mr. Molumphy through Protected Material. See, e.g., Mar. 7, 2019 Hr’g. Tr. at 20:1-

                                  22   9. Mr. Cotchett also spoke at the hearing. He prefaced his substantive remarks:

                                  23                   WHAT COUNSEL IS ARGUING HERE IS ESSENTIALLY
                                                       WHEN YOU CUT THROUGH ALL OF IT, IS THAT THE
                                  24                   CLAIMS THAT WE HAVE MADE ARE NOT FACTUALLY
                                                       THERE. I SUBMITTED A DECLARATION AND THE
                                  25                   DECLARATION IS VERY, VERY IMPORTANT HERE
                                                       BECAUSE ALTHOUGH THIS IS NOT A SUMMARY
                                  26                   JUDGMENT PROCEEDING, IT’S A CLAIM BY COUNSEL,
                                                       RESPECTFULLY, THAT WE HAVE NOT PLED A CASE
                                  27                   THAT FITS WITHIN THE LAW. SO I WANT TO JUST
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                                                      QUICKLY -- THE REASON I SUBMITTED A DECLARATION
                                   1                  IN SUPPORT HERE IS TO SHOW YOU OF ALL OF THE
                                                      DOCUMENTS THEY HAVE SUBMITTED TO SHOW YOU
                                   2                  JUST THE TIP OF THE ICEBERG, AND I WANT TO TAKE 30
                                                      SECONDS TO QUICKLY GO OVER THAT.
                                   3
                                       Id. at 27:18-28:3. He then disclosed Protected Material including quoting directly from the
                                   4
                                       Confidential Documents. After he spoke, Apple’s counsel asked to designate the entire hearing
                                   5
                                       transcript as CONFIDENTIAL under the Protective Order until Apple’s counsel could move to
                                   6
                                       seal portions of the transcript disclosing Protected Material. Id. at 31:1-12.
                                   7
                                              Section 14.7 of the Protective Order governs the introduction of Protected Materials on the
                                   8
                                       docket and at hearings. It provides:
                                   9
                                                      Filing Protected Material. Without written permission from the
                                  10                  Designating Party or a court order secured after appropriate notice
                                                      to all interested persons, a Party may not file any Protected
                                  11                  Material in the public record in these Actions. A Party that seeks to
                                                      file under seal any Protected Material must comply with Civil
                                  12                  Local Rule 79-5. A Party who seeks to introduce Protected
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                                                      Material at a hearing, pretrial or other proceeding shall advise the
 United States District Court




                                  13                  Court at the time of introduction that the information sought to be
                                                      introduced is protected. If the Party who designated the
                                  14                  information as Protected Material requests the protection be
                                                      continued, the Court will review the information to determine if
                                  15                  the information is entitled to continued protection. Prior to
                                                      disclosure of Protected Material at a hearing, the Producing Party
                                  16                  may seek further protections against public disclosure from the
                                                      Court.
                                  17
                                              At the May 30, 2019 hearing on this motion, Apple’s counsel requested that Plaintiffs give
                                  18
                                       the Court notice if they intended to refer to Protected Material. May 30, 2019 Hr’g. Tr. at 4:8-15.
                                  19
                                       But when Mr. Cotchett argued, he again began to disclose Protected Material by reading from the
                                  20
                                       March 7, 2019 hearing transcript without providing prior notice to the Court. Id. at 21:20-24. The
                                  21
                                       Court and Apple’s counsel had to interrupt Mr. Cotchett to stop him from further disclosing
                                  22
                                       Protected Material. Id. at 21:25-22:5. Mr. Cotchett conceded that the portion of the March 7, 2019
                                  23
                                       hearing transcript that he was quoting contained Protected Material. Id. at 22:6-9. Later, Mr.
                                  24
                                       Cotchett characterized the instant dispute as “silliness.” Id. at 25:14-17; see also id. at 27:20-22.
                                  25
                                              Apple argues that Mr. Cotchett and Mr. Molumphy’s disclosure of Protected Material was
                                  26
                                       knowing and willful, and warrants a strong sanction to maintain the integrity of the Court and of
                                  27

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                                   1   the Protective Order, and to reassure Apple and other litigants that they can trust the Court to

                                   2   protect sensitive information. Mot. at 2-3, 15-18; see, e.g., May 30, 2019 Hr’g. Tr at 11:7-12,

                                   3   18:1-5. Specifically, Apple contends that § 14.7 obligated Mr. Cotchett and Mr. Molumphy to

                                   4   notify the Court that they intended to discuss Protected Material at the time that they made

                                   5   statements at issue. Plaintiffs respond that this dispute arises from a disagreement over how § 14.7

                                   6   should be interpreted and implemented. They argue that Mr. Cotchett and Mr. Molumphy satisfied

                                   7   § 14.7 by filing excerpts of Protected Material, including the Confidential Documents, under seal:

                                   8   “Plaintiffs’ prominent inclusion and introduction of this information in their Opposition briefing,

                                   9   and filing these same documents under seal prior to the Hearing, was sufficient to advise the Court

                                  10   and Apple that this information would be used at the Hearing meant to consider these very briefs,

                                  11   arguments, allegations and supporting evidence . . . .” Opp’n at 13. At the hearing in this motion,

                                  12   Mr. Cotchett expanded on this point, saying that he had put the Court on notice by stating that he
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                                  13   intended to discuss the documents attached to his declaration. May 30, 2019 Hr’g. Tr. at 25:1-8. It

                                  14   was therefore the Court’s obligation to understand that those documents had been filed under seal.

                                  15   See id.

                                  16             Plaintiffs’ interpretation of § 14.7 is contrary to its the plain language. Section 14.7

                                  17   requires a party introducing Protected Material at a hearing to “advise the Court at the time of

                                  18   introduction that the information sought to be introduced is protected.” Merely filing Protected

                                  19   Material under seal in advance of a hearing—while required—does not discharge a party’s

                                  20   additional obligation to “advise the Court at the time of introduction” that it intends to introduce

                                  21   Protected Material.

                                  22             To eliminate any chance of future misunderstandings related to this question, the Court

                                  23   rules that under § 14.7 when a party seeks to introduce Protected Material—or information

                                  24   obtained through Protected Material—at a hearing, the introducing party must unambiguously

                                  25   inform the Court that the material it seeks to introduce is Protected Material. Mere reference to the

                                  26   docket numbers, the titles of documents, et cetera without a clear statement that the material to be

                                  27   introduced is Protected Material will be insufficient. Then, before continuing, the introducing

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                                   1   party must allow the party that designated the material an opportunity to state whether it requests

                                   2   that the designation continue. The introducing party must then allow the Court to decide whether

                                   3   to allow the material to be introduced, to seal the courtroom, or to take other action. This

                                   4   interpretation of § 14.7 will give effect the following sentences: “A Party who seeks to introduce

                                   5   Protected Material at a hearing, pretrial or other proceeding shall advise the Court at the time of

                                   6   introduction that the information sought to be introduced is protected. If the Party who designated

                                   7   the information as Protected Material requests the protection be continued, the Court will review

                                   8   the information to determine if the information is entitled to continued protection. Prior to

                                   9   disclosure of Protected Material at a hearing, the Producing Party may seek further protections

                                  10   against public disclosure from the Court.” Failure to comply with these instructions will be

                                  11   grounds for sanctions.

                                  12          The Court now turns to Mr. Cotchett and Mr. Molumphy. Unlike Mr. Cotchett, Mr.
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                                  13   Molumphy did not directly quote from Protected Material, but rather related information derived

                                  14   from Protected Material in an effort to describe how the Second Amended Complaint differed from

                                  15   the previous complaint. See May 30, 2019 Hr’g. Tr. at 33:17-23, 34:9-25. While the Court finds

                                  16   that his actions violated the Protective Order, the Court will give Mr. Molumphy the benefit of the

                                  17   doubt that his violation was not willful but arose out of a “difference in understanding as to

                                  18   § 14.7.” Id. at 33:1-2. The facts relating to Mr. Cotchett are different though. Mr. Cotchett signed

                                  19   the administrative motion to file the Confidential Documents under seal, indicating that he knew

                                  20   they were Protected Material. Dkt. No. 279. At the March 7, 2019 hearing, he quoted directly

                                  21   from them. And at the May 30, 2019 hearing—after the conferences between the parties on this

                                  22   matter and full briefing on the instant Motion for Sanctions—he again began to read aloud from

                                  23   Protected Material. Mr. Cotchett’s actions, if not willful, display a fundamental lack of

                                  24   understanding of the Protective Order.

                                  25          However, the Court finds that disqualifying Mr. Cotchett and Mr. Molumphy or prohibiting

                                  26   them from accessing Protected Material would be too severe a sanction at this time. Instead, the

                                  27   Court orders as follows: Plaintiffs shall not submit any billing requests for any work related to this

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                                   1   issue including but not limited to reviewing Apple’s motion and reply, preparing Plaintiffs’

                                   2   opposition, or preparing or attending the May 30, 2019 hearing. Should this litigation result in an

                                   3   award of attorneys’ fees to Plaintiffs, the Court will deduct from that award all of Apple’s costs

                                   4   and fees related to this issue, including but not limited to preparing its motion and reply, reviewing

                                   5   Plaintiffs’ opposition, and preparing for and attending the May 30, hearing. Going forward in this

                                   6   litigation, Mr. Cotchett will not argue motions before this Court without the Court’s prior

                                   7   permission. He shall file such requests for permission before the hearing. The Court admonishes

                                   8   Mr. Molumphy to abide by the Protective Order and the Court’s interpretation of § 14.7 during all

                                   9   future appearances before the Court. Further disclosure of Protected Material by any party or

                                  10   attorney will be grounds for greater sanctions.

                                  11          IT IS SO ORDERED.

                                  12   Dated: June 14, 2019
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                                  13                                                     ______________________________________
                                                                                         EDWARD J. DAVILA
                                  14                                                     United States District Judge
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